 Case 2:93-cv-00902-RBS Document 450 Filed 07/09/18 Page 1 of 3 PageID# 731



                         THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division


R.M.S. TITANIC, INC.,
Successor in interest to Titanic
Ventures, limited partnership,

       Plaintiff,

v.                                                  Civil Action No.: 2:93cv902

The Wrecked and Abandoned
Vessel, . . . believed to be
The RMS TITANIC, in rem,

       Defendant.


                                   NOTICE OF APPEARANCE

       COMES NOW Edward J. Powers of the law firm of Vandeventer Black LLP, and

files this Notice of Appearance as counsel on behalf of the National Maritime Museum, located

at Greenwich, England, as interested party, potential bidder for the STAC, and proponent of a

chapter 11 plan and related disclosure statement in the matter captioned “In re: RMS TITANIC,

Inc. et al.,” bearing docket number 3:16-bk-02230-PMG pending in the United States

Bankruptcy Court for the Middle District of Florida which provides for the purchase of the

STAC by, inter alia, the National Maritime Museum.



                                            NATIONAL MARITIME MUSEUM

                                            By: /s/ Edward J. Powers
                                                      Of Counsel
 Case 2:93-cv-00902-RBS Document 450 Filed 07/09/18 Page 2 of 3 PageID# 732



Edward J. Powers, Esq. (VSB No. 32146)
Vandeventer Black LLP
101 West Main Street, Suite 500
Norfolk, VA 23510
Telephone: (757) 446-8600
Facsimile: (757) 446-8670
epowers@vanblacklaw.com
Counsel for National Maritime Museum




                                         2
 Case 2:93-cv-00902-RBS Document 450 Filed 07/09/18 Page 3 of 3 PageID# 733




                               CERTIFICATE OF SERVICE

The undersigned hereby certifies that the foregoing pleading was electronically filed with the
Court’s ECF system causing ECF notification to be sent to all counsel of record.



                                                  /s/ Edward J. Powers

Edward J. Powers, Esq. (VSB No. 32146)
Vandeventer Black LLP
101 West Main Street, Suite 500
Norfolk, VA 23510
Telephone: (757) 446-8600
Facsimile: (757) 446-8670
epowers@vanblacklaw.com




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